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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
                                               :
 UNITED STATES OF AMERICA                      :
                                               : Case No. 21-CR-245 (APM)
    v.                                         :
                                               :
 SHANE JENKINS,                                :
                                               :
    Defendant.                                 :
                                               :

                                   [PROPOSED] ORDER

         Upon consideration of Defendant Shane Jenkins’ Motion to Dismiss Count Two of the

Second Superseding Indictment, it is

         ORDERED, that the Motion is GRANTED.



Date: _____________                         ______________________________
                                            Amit P. Mehta
                                            United States Judge
